                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION


HARRY ANTHONY SCHEINA, III,                          )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )      Case No. 18-03210-CV-S-BP
                                                     )
JAMES SIGMAN,                                        )
                                                     )
                      Defendant.                     )


                     AMENDED SCHEDULING AND TRIAL ORDER

       The parties filed a Joint Motion to Amend the Scheduling Order. The following amended

schedule is hereby established:

       1.      TRIAL SETTING. This case is scheduled for a jury trial, commencing at 8:30

a.m., on February 3, 2020, at the United States District Courthouse in Springfield, Missouri.

       2.      TELECONFERENCE. A teleconference is set at 10:00 a.m., on January 3, 2020

via teleconference to discuss the progress of the case and possible court ordered mediation.

Parties shall call in by dialing (877) 336-1839 and enter access code 4259420.

       3.      PRETRIAL CONFERENCE. A final pretrial conference in this case will be held

at 10:30 a.m., on January 17, 2020, via teleconference. Call-in information is the same as listed

in paragraph 2.

       4.      MOTION TO AMEND PLEADINGS. Any motion to amend the pleadings shall

be filed on or before January 1, 2019.




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        5.       MOTION TO JOIN ADDITIONAL PARTIES. Any motion to join additional

parties shall be filed on or before January 1, 2019.

        6.       DISCOVERY DEADLINE. All pretrial discovery authorized by the Federal

Rules of Civil Procedure shall be completed on or before May 1, 2019. This means that all

discovery shall be completed, not simply submitted, on the date specified by this paragraph.

        The Court will not entertain any discovery motion absent full compliance with Local Rule

37.1.   In the event that a teleconference is needed, email your request to my judicial assistant at

annette_cordell@mow.uscourts.gov. A memorandum of the discovery dispute, not to exceed

one page in length, should be electronically submitted by each party no later than forty-eight

hours prior to the teleconference.

        Prior to bringing any discovery dispute before the Court, the parties are reminded to

consult the Principles for the Discovery of Electronically Stored Information available on the

Court’s website under “Local Rules, ESI Principles, Procedures & Fees.”

        7.       EXPERT DESIGNATION DEADLINES. The plaintiff shall designate any expert

witnesses it intends to call at trial on or before February 15, 2019, and the defendant shall

designate any expert witnesses it intends to call at trial on or before March 15, 2019. This

paragraph applies to all witnesses retained or non-retained from whom expert opinions will be

elicited at trial.

        Along with each party’s designation of expert witnesses, each party shall provide the

other parties with a report, pursuant to Rule 26(a)(2)(B), Fed. R. Civ. P., from each expert

witness designated. Expert witnesses may testify only as to matters contained in the report

described above unless leave of Court is granted upon good cause shown.


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        With respect to treating physicians, coroners and like professionals not retained to testify

for a party, the report requirements of this Order may be satisfied by providing a copy of all the

treating physician’s files, records and notes relating to the treating physician’s patient to the

opposing party. For the purpose of this paragraph, a “treating physician” is a doctor (including

psychiatrist, dentist or other practitioner of the healing arts) retained by a party prior to retaining

counsel in this matter. A treating physician will not be allowed to give expert testimony beyond

the treatment provided by said physician unless designated as an expert. A treating physician

who will provide expert testimony beyond the treatment provided by said physician must further

comply with the requirements of this Order.

        8.      DISPOSITIVE MOTION DEADLINE. All dispositive motions, except those

under Rule 12(h)(2) or (3), shall be filed on or before May 31, 2019. All dispositive motions

shall have a separate section wherein each statement of fact is individually numbered so that any

party opposing such motion may refer specifically to a genuine issue of material fact.

Suggestions in opposition to a dispositive motion shall begin with a concise listing of material

facts as to which the party contends a genuine dispute exists. All motions for summary judgment

shall comply with Local Rules 7.0 and 56.1.

        9.      DAUBERT MOTIONS. All motions to strike expert designations or preclude

expert testimony premised on Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579

(1993) shall be filed on or before June 1, 2019. The deadline for filing motions in limine does

not apply to these motions. Failure to file a Daubert motion prior to this deadline will constitute

a waiver of any arguments based on Daubert.




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       10.     PRETRIAL CONFERENCE DOCUMENT DEADLINES. The documents listed

below shall be filed prior to the pretrial conference.

               a.      Motions in Limine. Motions in limine shall be filed at least ten (10) days
                       prior to the pretrial conference. Responses to motions in limine shall be
                       filed at least three (3) days prior to the pretrial conference.

               b.      Stipulation of Uncontroverted Facts. At least three (3) days prior to the
                       date the pretrial conference is to be held, the parties shall file a stipulation
                       of any uncontroverted facts. If no stipulated facts can be agreed upon,
                       including facts related to the Court’s subject matter jurisdiction, the parties
                       shall file a joint statement to that effect.

               c.      Witness List. At least five (5) days prior to the date the pretrial conference
                       is to be held, each party shall file and serve a list of all witnesses who may
                       be called to testify at trial. If a witness is not listed by a party, that witness
                       will not be permitted to testify absent leave of Court and then only for the
                       purpose of unanticipated rebuttal or impeachment.

               d.      Exhibit List. At least five (5) days prior to the date the pretrial conference
                       is to be held, each party will file and serve a list of all exhibits which may
                       be offered at trial. If an exhibit is not listed by a party, that exhibit will not
                       be admitted absent leave of Court. Please use the form Exhibit Index
                       listed on the Court’s website.

               e.      Stipulation as to the Admissibility of Evidence. At least three (3) days
                       before the pretrial conference, the parties shall file a stipulation as to the
                       admissibility of evidence, when the identification and foundation of the
                       exhibit is not to be contested.

               f.      Designation of Deposition Testimony. Fifteen (15) days before pretrial
                       conference, each party shall file and serve a designation, by page and line
                       number, of any deposition testimony to be offered in evidence by that
                       party.

               g.      Objections to Designated Deposition Testimony and Counter Designation.
                        At least ten (10) days prior to the pretrial conference, each party shall file
                       and serve:

                       1.      Any objections to proposed deposition testimony designated
                               by any other party; and




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         2.     A designation, by page and line number, of any deposition
                testimony to be offered as counter-designation to deposition
                testimony designated by other parties.

   h.    Submission of Deposition Designations. Seven (7) days prior to the
         pretrial conference, each party shall file, serve, and deliver to all other
         parties and the Court, its objections to any deposition testimony designated
         pursuant to subparagraphs g. 1. and 2. above.

         The Court should receive deposition designations in the following manner:

         1.     The parties are to jointly submit one copy of each designated
                deposition.

         2.     Each party is to highlight the portion of the deposition they want to
                designate, including counter-designations.

         3.     Each party should use a different highlight color to indicate their
                designations (for example, plaintiff uses yellow; defendant uses
                blue).

         4.     Each party should also indicate their objections on the actual
                deposition by bracketing those portions in the margin of the
                deposition, again using a different color to indicate the portion to
                which each party objects.

         5.     Each party should submit to the Court a Word version document of
                the Objections to Deposition Designations that you filed in
                CM/ECF. Send that via email to my judicial assistant at
                annette_cordell@mow.uscourts.gov.

   i.    Jury Instructions. Three (3) days prior to the pretrial conference, the parties
         shall jointly file an annotated (with sources) set of proposed jury
         instructions. Proposed instructions shall reflect the authorities upon which
         the instruction is based and should be taken from or drawn in the manner
         of Model Civil Jury Instructions for the District of Courts of the Eighth
         Circuit and/or Missouri Approved Instructions (MAI) where available and
         appropriate. All instructions shall be designated as Instruction No. ___.

         The Court prefers to receive joint instructions from the parties. Separate
         instructions are appropriate only when the parties cannot agree upon a
         specific instruction. In that instance, the parties shall jointly submit the
         instructions upon which they agree. Each party shall submit its proposed


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                       version of the instructions upon which the parties do not agree, along with
                       a written objection to the other party’s version.

                       The instructions should also be submitted to the Court electronically, in a
                       Word document. Send the instructions via email to my judicial assistant at
                       annette_cordell@mow.uscourts.gov.

               j.      Trial Brief. At least five (5) days prior to the pretrial conference, counsel
                       for each party may file a trial brief stating the factual and legal contentions
                       in the case.

               k.      Voir Dire Questions. At least five (5) days prior to the pretrial conference,
                       counsel for each party shall file a list of questions or topics for voir dire.
                       Objections to opposing party’s voir dire questions shall be filed at least
                       three (3) days prior to the pretrial conference.

                       At the pretrial conference, the Court will discuss the manner in which voir
                       dire will be conducted. In appropriate cases, the court will permit counsel
                       for the parties to conduct questioning of the panel members. However,
                       questions will be limited to those filed with the court, and the court will
                       limit the amount of time each party will be permitted to conduct
                       questioning.


       11.     SETTLEMENT DEADLINE. Unless otherwise ordered, the court hereby

imposes a settlement deadline of 12:00 Noon on the business day before trial. If the case is

settled after that date, the court may enter an order to show cause why certain costs should not be

imposed on the party or parties causing the delay in settlement.

       12.     COURTROOM EQUIPMENT. If any party wants to use the audio/visual

courtroom equipment it is important that they contact the Court’s IT department (816-512-5740)

for training, and provide notice to Kelly McIlvain, Courtroom Deputy at

(kelly_mcilvain@mow.uscourts.gov).




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       Parties must notify the Court two days prior to the Pretrial Conference and one week prior

to the Trial for any audio/visual use.

IT IS SO ORDERED.


                                                    /s/ Beth Phillips
                                                    BETH PHILLIPS, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATE: October 17, 2018




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